









Dismissed and Memorandum Opinion filed May 19, 2005









Dismissed and Memorandum Opinion filed May 19, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00316-CR

____________

&nbsp;

PAUL DEWAYNE
JOSEPH, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
177th District Court

Harris County,
Texas

Trial Court Cause No. 1008794

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to robbery.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on March
7, 2005, to confinement for four years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 19, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





